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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov


In re:                                                       Case No. 8:19-bk-01847-CPM
                                                             Chapter 7
Jason Jeffrey Rockenbach

         Debtor.
                                              /

                            TRUSTEE’S RESPONSE TO
                    MOTION FOR RELIEF FROM AUTOMATIC STAY

      COMES NOW, the Trustee, Carolyn R. Chaney, and responds to the Motion for Relief
From Automatic Stay, filed at Doc. No. 11, and says:

        1. The Trustee does not object to the relief sought in the motion; however requests the
Court to delay the effective date of the Order lifting stay for a period of ninety (90) days in order
to allow the Trustee the opportunity to market and sell the property utilizing the services of BK
Global Real Estate Services.

         DATED: April 10, 2019.                   /s/Carolyn R. Chaney, Trustee
                                                  Post Office Box 530248
                                                  St. Petersburg, FL 33747-0248
                                                  Telephone: (727) 864-9851
                                                  Email: carolyn.chaney@earthlink.net




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been provided by
electronic or U.S. Mail delivery on April 10, 2019, to:

Office of U.S. Trustee, at USTPRegion21.TP.ECF@USDOJ.GOV
Debtors: Jason Jeffrey Rockenbach, 10126 Somersby Drive, Riverview, FL 33578
Attorney for Debtor: Robert M. Geller, Esquire, 807 W. Azeele Street, Tampa, FL 33606;
        Email: rmgbk@verizon.net
Attorney for Secured Creditor, Lindsey Savastano, Esquire, 2424 North Federal Highway, Suite
        360, Boca Raton, FL 33431; Email: Lsavastano@LOGS.com.


                                                  /s/Carolyn R. Chaney, Esquire
